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          Case 2:20-cr-00390-AB Document 1 Filed 09/01/20 Page 1 of 5 Page       ID #:1
                                                                       CLERK, U.S. DISTRICT COURT


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                                                                                 CENTRAL DISTRICT OF CALIFORNIA
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8                                  UNITED STATES DISTRICT COURT

9                           FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                     January 2020 Grand Jury

11   UNITED STATES OF AMERICA,                          CR 2:20-cr-00390-AB

12                 Plaintiff,                           I N D I C T M E N T

13                 v.                                   [21 U.S.C. § 963: Conspiracy to
                                                        Distribute Cocaine for the Purpose
14   JORGE RUBEN CAMARGO-CLARKE,                        of Unlawful Importation]
       aka “Cool nene,”
15         “el nene,” and
           “Nene,”
16
                   Defendant.
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18           The Grand Jury charges:
19                                         [21 U.S.C. § 963]
20   A.      OBJECT OF THE CONSPIRACY
21           Beginning on a date unknown, and continuing to on or about May
22   30, 2018, in the country of Panama, and elsewhere, defendant JORGE
23   RUBEN CAMARGO-CLARKE, also known as “Cool nene,” “el nene,” and
24   “Nene,” conspired with others known and unknown to the Grand Jury to
25   knowingly and intentionally distribute at least five kilograms of a
26   mixture and substance containing a detectable amount of cocaine, a
27   Schedule II narcotic drug controlled substance, intending, knowing,
28   and having reasonable cause to believe that such substance would be
          Case 2:20-cr-00390-AB Document 1 Filed 09/01/20 Page 2 of 5 Page ID #:2



1    unlawfully imported into the United States, in violation of Title 21,

2    United States Code, Sections 959(a), 960(a)(3), and (b)(1)(B)(ii).

3    B.     MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

4           ACCOMPLISHED

5           The object of the conspiracy was to be accomplished, in

6    substance, as follows:

7           1.    Defendant CAMARGO’s co-conspirator (“Co-conspirator 1”)

8    would obtain cocaine in Colombia for the purpose of distribution in

9    the United States and elsewhere.

10          2.    Defendant CAMARGO would obtain cocaine from Co-conspirator

11   1 and arrange with other co-conspirators to transport that cocaine

12   from Colombia to Panama by boat for the purpose of distribution in

13   the United States and elsewhere.

14          3.    At defendant CAMARGO’s instruction, co-conspirators would

15   transport cocaine from Colombia to Panama and hide the cocaine in

16   Panama.

17          4.    After the cocaine arrived in Panama from Colombia,

18   defendant CAMARGO and co-conspirators would transport portions of the

19   cocaine shipment to Costa Rica and ultimately to the United States

20   for distribution.

21   C.     OVERT ACTS

22          In furtherance of the conspiracy and to accomplish its object,

23   on or about the following dates, defendant CAMARGO, together with

24   others known and unknown to the Grand Jury, committed and caused to

25   be committed various overt acts in the countries of Panama and

26   Colombia including, but not limited to, the following:

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       Case 2:20-cr-00390-AB Document 1 Filed 09/01/20 Page 3 of 5 Page ID #:3



1         1.   On October 13, 2017, using coded language in electronic

2    communications, defendant CAMARGO discussed the price of drugs in

3    Colombia with Co-conspirator 1.

4         2.   On October 26, 2017, using coded language in electronic

5    communications, defendant CAMARGO asked Co-conspirator 1 if Co-

6    conspirator 1 was ready to transport drugs from Colombia.

7         3.   On November 9, 2017, using coded language in electronic

8    communications, defendant CAMARGO and Co-conspirator 1 agreed to

9    delay a shipment of drugs from Colombia to Panama due to increased

10   law enforcement activity around Panama.

11        4.   On November 13, 2017, using coded language in electronic

12   communications, Co-conspirator 1 informed defendant CAMARGO that Co-

13   conspirator 1 had obtained cocaine in Colombia and that Co-

14   conspirator 1 was waiting to obtain marijuana in Colombia before

15   shipping both the cocaine and marijuana from Colombia to Panama.

16        5.   Between November 13 and 15, 2017, defendant CAMARGO

17   arranged for other co-conspirators to transport by boat from Colombia

18   to Panama the cocaine and marijuana that defendant CAMARGO had

19   discussed with Co-conspirator 1 on November 13, 2017.

20        6.   On November 15, 2017, using coded language in electronic

21   communications, defendant CAMARGO told Co-conspirator 1 that the

22   intended route for the drug-laden boat on which defendant CAMARGO’s

23   co-conspirators were planning to transport cocaine and marijuana from

24   Colombia to Panama was free of law enforcement.

25        7.   On November 16, 2017, using coded language in electronic

26   communications, Co-conspirator 1 told defendant CAMARGO that the drug

27   shipment would occur that day and suggested that defendant CAMARGO

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          Case 2:20-cr-00390-AB Document 1 Filed 09/01/20 Page 4 of 5 Page ID #:4



1    not use his phone to communicate with Co-conspirator 1 during the

2    shipment in order to avoid law enforcement detection.

3           8.    On November 16 and 17, 2017, co-conspirators acting on

4    behalf of and at the direction of defendant CAMARGO transported

5    cocaine and marijuana from Colombia to Panama aboard a boat and

6    buried the drugs in Panama.

7           9.    On November 17, 2017, using coded language in electronic

8    communications, defendant CAMARGO told Co-conspirator 1 that the boat

9    carrying the drug shipment had arrived safely that morning in Panama.

10          10.   On November 18, 2017, using coded language in electronic

11   communications, defendant CAMARGO told Co-conspirator 1 that law

12   enforcement had located the boat that had been used to transport

13   drugs from Colombia to Panama.

14          11.   On November 21, 2017, using coded language in electronic

15   communications, defendant CAMARGO discussed with Co-conspirator 1 the

16   fact that law enforcement had recovered the buried cocaine and

17   marijuana that defendant CAMARGO and Co-conspirator 1 had arranged to

18   transport from Colombia to Panama.

19          12.   On January 25 and 26, 2018, using coded language in

20   electronic communications, defendant CAMARGO discussed with Co-

21   conspirator 1 another shipment of cocaine.

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1         13.   On May 30, 2018, defendant CAMARGO met with Co-conspirator

2    1 in Panama and discussed future shipments of cocaine.

3                                               A TRUE BILL
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                                                       /S/
6                                               Foreperson

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